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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION


MICHAEL P. MISCH et al. on behalf of the )
UNITED STATES OF AMERICA, and the STATE )
OF INDIANA,                              )
                                         )
       Plaintiffs,                       )
                                         )
v.                                       )                       CASE NO. 3:16-cv-587
                                         )
MEMORIAL HOSPITAL OF SOUTH BEND,         )
INC., et al.,                            )
                                         )
       Defendants.                       )


 RELATORS’ NOTICE OF VOLUNTRARY DISMISSAL OF CLAIMS BROUGHT ON
            BEHALF OF THE UNITED STATES OF AMERICA

        Relators, by counsel, pursuant to Fed. R. Civ. P. 41(a)(1), request the Court to dismiss the

remaining pending claims brought on behalf of the United States of America:

        Relators move the Court for a dismissal without prejudice of all remaining claims brought on

behalf of the United States of America. No responsive pleadings have been filed by any defendant to

this case, and in this situation a filing of a Notice of Dismissal pursuant to Fed. R. Civ. P. 41(a)(1)

would be sufficient to end this matter without further Court order. However, 31 U.S.C. § 3730(b)(1)

requires that “the action may be dismissed only if the court and the Attorney General give written

consent to the dismissal and their reasons for consenting.” Upon receipt of a filing indicating such

consent, the Relators request that the Court enter an order dismissing this case without prejudice.
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                                   Respectfully Submitted,



                                   /s/ Michael P. Misch
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                                   Bradley P. Colborn (#28501-20)
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                                   Attorneys for Relators
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the _19th_ day of January 2018, a copy of the foregoing was filed
electronically with the Court. Notice of this filing will be sent to all parties registered on the Court’s
electronic filing system. Parties may access this filing through the Court’s system.



                                                 /s/ Michael P. Misch
                                                 Michael P. Misch (#27970-71)
                                                 Bradley P. Colborn (#28501-20)
